    Case 8:17-cv-00118-AG-DFM Document 560 Filed 09/03/19 Page 1 of 15 Page ID #:23527


                   1     LATHAM & WATKINS LLP
                          Manuel A. Abascal (Bar No. 171301)
                   2      manny.abascal@lw.com
                          Brian T. Glennon (Bar No. 211012)
                   3      brian.glennon@lw.com
                          Kristen M. Tuey (Bar No. 252565)
                   4      kristen.tuey@lw.com
                         355 South Grand Avenue, Suite 100
                   5     Los Angeles, CA 90071-1560
                         Tel: (213) 485-1234
                   6     Fax: (213) 891-8763
                   7     LATHAM & WATKINS LLP
                          Michele D. Johnson (Bar No. 198298)
                   8      michele.johnson@lw.com
                          Andrew R. Gray (Bar No. 254594)
                   9      andrew.gray@lw.com
                         650 Town Center Drive, 20th Floor
              10         Costa Mesa, CA 92626-1925
                         Tel: (714) 540-1235
              11         Fax: (714) 755-8290
              12         Attorneys for Defendant
                         Steven A. Sugarman
              13
              14                              UNITED STATES DISTRICT COURT
              15                             CENTRAL DISTRICT OF CALIFORNIA
              16
              17        IN RE BANC OF CALIFORNIA          CASE NO. SACV 17-00118 AG (DFMx)
                        SECURITIES LITIGATION             consolidated with
              18                                          SACV 17-00138 AG (DFMx)
              19                                          DEFENDANT STEVEN A. SUGARMAN’S
                                                          NOTICE OF MOTION AND MOTION
              20                                          FOR ORDER DE-DESIGNATING
                                                          DOCUMENTS IMPROPERLY
              21        This Document Relates to:         DESIGNATED CONFIDENTIAL OR
                                                          ATTORNEYS’ EYES ONLY PURSUANT
              22                 ALL ACTIONS              TO STIPULATION AND PROTECTIVE
                                                          ORDER
              23
                                                          [REDACTED VERSION OF DOCUMENT
              24                                          PROPOSED TO BE FILED UNDER
                                                          SEAL]
              25
              26                                          Judge: Honorable Douglas F. McCormick
                                                          Date: October 1, 2019
              27                                          Time: 10:00 a.m.
                                                          Place: Courtroom 6B
              28                                          Trial Date: February 18, 2020

                       US-DOCS\110403291.4                                CASE NO. SACV 17-00118 AG (DFMx)
ATTORNEYS AT LAW
                                                                         DEFENDANT SUGARMAN’S MOT. TO
                                                                                            DE-DESIGNATE
    Case 8:17-cv-00118-AG-DFM Document 560 Filed 09/03/19 Page 2 of 15 Page ID #:23528


                   1 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
                   2            PLEASE TAKE NOTICE that on October 1, 2019, at 10:00 a.m. or as soon
                   3 thereafter as the matter may be heard, in the Courtroom of the Honorable Douglas
                   4 F. McCormick, Courtroom 6B, United States District Court for the Central District
                   5 of California, located at 411 West Fourth Street, Santa Ana, California, Defendant
                   6 Steven A. Sugarman will and hereby does move for an Order De-Designating
                   7 Documents Improperly Designated Confidential or Attorneys’ Eyes Only Pursuant
                   8 to the Stipulation and Protective Order as laid out in the [Proposed] Order filed
                   9 concurrently herewith.
              10                This Motion is based on this Notice of Motion and Motion, the Declaration of
              11 Joseph De Leon in support and exhibits thereto, and any other materials the Court
              12 may consider prior to its decision on this Motion.
              13
              14 Dated: September 3, 2019                         LATHAM & WATKINS LLP
              15
                                                                       By: /s/ Manuel A. Abascal
              16                                                       Manuel A. Abascal
                                                                       Attorneys for Defendant Steven A.
              17                                                       Sugarman
              18
              19
              20
              21
              22
              23
              24
              25
              26
              27
              28

                       US-DOCS\110403291.4                                      CASE NO. SACV 17-00118 AG (DFMx)
ATTORNEYS AT LAW
                                                                               DEFENDANT SUGARMAN’S MOT. TO
                                                                                                  DE-DESIGNATE
    Case 8:17-cv-00118-AG-DFM Document 560 Filed 09/03/19 Page 3 of 15 Page ID #:23529


                   1                                            TABLE OF CONTENTS
                                                                                                                                           Page
                   2
                   3 I.         INTRODUCTION .......................................................................................... 1
                   4 II.        BACKGROUND ............................................................................................ 3
                   5
                     III.       BANC REFUSED TO MEET AND CONFER ............................................. 8
                   6
                     IV.        ARGUMENT ................................................................................................. 8
                   7
                   8            A.       Banc Cannot Satisfy Its Burden to Establish that the
                                         Designated Documents Are Entitled to Protection, and
                   9                     therefore the Documents Should Be Ordered De-
              10                         Designated ............................................................................................ 8

              11 V.             CONCLUSION ............................................................................................ 11
              12
              13
              14
              15
              16
              17
              18
              19
              20
              21
              22
              23
              24
              25
              26
              27
              28

                       US-DOCS\110403291.4                                                              CASE NO. SACV 17-00118 AG (DFMx)
ATTORNEYS AT LAW
                                                                                     i                 DEFENDANT SUGARMAN’S MOT. TO
                                                                                                                          DE-DESIGNATE
    Case 8:17-cv-00118-AG-DFM Document 560 Filed 09/03/19 Page 4 of 15 Page ID #:23530


                   1                                           TABLE OF AUTHORITIES
                   2                                                                                                                    Page(s)
                   3                                                            CASES
                   4 Del Campo v. Am. Corrective Counseling Servs., Inc.,
                       No. C-01-21151JWPVT, 2007 WL 3306496 (N.D. Cal. Nov. 6,
                   5   2007) ................................................................................................................... 11
                   6 Echostar Satellite LLC v. Freetech, Inc.,
                       No. C 07-6127 JW RS, 2009 WL 8398697 (N.D. Cal. Aug. 5,
                   7   2009) ..................................................................................................................... 8
               8 Kamakana v. City & Cty. of Honolulu,
                   447 F.3d 1172 (9th Cir. 2006) .............................................................................. 2
               9
                 Karoun Dairies, Inc. v. Karoun Dairies, Inc.,
              10   No. 08-CV_1521-AJB WVG, 2014 WL 5170800 (S.D. Cal. Oct.
                   14, 2014) ............................................................................................................... 9
              11
                 Louisiana Pac. Corp. v. Money Mkt. 1 Institutional Inv. Dealer,
              12   285 F.R.D. 481 (N.D. Cal. 2012) ......................................................................... 8
              13 Minter v. Wells Fargo Bank, N.A.,
                     Nos. 07-3442, 08-1642, 2010 WL 5418910....................................................... 10
              14
                 In re Roman Catholic Archbishop of Portland in Oregon,
              15     661 F.3d 417 (9th Cir. 2011) ................................................................................ 9
              16                                                               RULES
              17 L.R. 37-1 .................................................................................................................... 8
              18 L.R. 37-2.4 ................................................................................................................. 8
              19 L.R. 37-4 .................................................................................................................... 8
              20
              21
              22
              23
              24
              25
              26
              27
              28

                       US-DOCS\110403291.4                                                                CASE NO. SACV 17-00118 AG (DFMx)
ATTORNEYS AT LAW
                                                                                      ii                 DEFENDANT SUGARMAN’S MOT. TO
                                                                                                                            DE-DESIGNATE
    Case 8:17-cv-00118-AG-DFM Document 560 Filed 09/03/19 Page 5 of 15 Page ID #:23531


                   1 I.         INTRODUCTION
                   2            Mr. Steven A. Sugarman hereby seeks an order compelling Banc of
                   3 California, Inc. (“Banc”) to withdraw its designations of documents as
                   4 “Confidential” or “Highly Confidential - Attorneys’ Eyes Only” pursuant to the
                   5 Stipulation and Protective Order in this case (Dkt. 83) (hereinafter, the “Protective
                   6 Order”). In its Protective Order, this Court instructed the Parties to limit
                   7 designations only to documents that may cause a competitive injury, not to
                   8 designate public material, and specifically prohibited mass, indiscriminate, or
               9 routinized designations:
              10        Mass, indiscriminate, or routinized designations are prohibited.
                        Unjustified designations may expose the designator to sanctions.
              11        Designation under this Order is allowed only if the designation is
                        necessary to protect material that, if disclosed to persons not
              12        authorized to view it, would cause competitive or other recognized
                        harm. Material may not be designated if it has been made public, or if
              13        designation is otherwise unnecessary to protect a secrecy interest.
              14 (Dkt. 82 at 2) (emphasis added). Despite this clear warning against mass
              15 designation, Banc appears to have designated every single page of its 464,010
              16 production as “Confidential” or “Highly Confidential – Attorney’s Eyes Only.”
              17 The documents designated do not involve competitively sensitive material, but
              18 rather years-old historical facts regarding events and subject matters that Banc,
              19 Plaintiff, third parties have discussed in numerous public news articles, pleadings,
              20 securities disclosures, and other media for the past three years. Some of the
              21 documents designated even include public articles. This over-designation has
              22 caused this Court and the litigants to spend substantial additional resources because
              23 designated material must be filed provisionally under seal, requiring time
              24 consuming and unnecessary briefing. The over-designation is also inconsistent
              25 with the principle of public access to court proceedings.
              26                Banc’s over-designation creates the unfair situation where Plaintiff and Banc
              27 have made public, disparaging statements about historical facts related to Mr.
              28 Sugarman in pleadings and other public filings, and the documents disproving

                       US-DOCS\110403291.4                                       CASE NO. SACV 17-00118 AG (DFMx)
ATTORNEYS AT LAW
                                                                   1            DEFENDANT SUGARMAN’S MOT. TO
                                                                                                   DE-DESIGNATE
    Case 8:17-cv-00118-AG-DFM Document 560 Filed 09/03/19 Page 6 of 15 Page ID #:23532


                   1 these public statements are designated as confidential thus hiding from the public a
                   2 complete record of the events in question. See Kamakana v. City & Cty. of
                   3 Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (“Unless a particular record is one
                   4 ‘traditionally kept secret,’ a ‘strong presumption in favor of access’ is the starting
                   5 point”).
                   6            Banc has not provided any proper basis for designating these materials as
                   7 “Confidential” or “AEO,” and it is apparent they are seeking to selectively disclose
                   8 and spin facts about historical events to manage their public image and that of
                   9 certain directors, rather than protecting any commercial business reason for
              10 confidentiality of these three-year-old, already public historical events. The
              11 Protective Order in this case is not intended to allow one party, in this case Banc,
              12 to be empowered to selectively manage its media presence while preventing other
              13 parties from responding publicly.
              14                Banc’s abuse of the AEO designation is particularly harmful to Mr.
              15 Sugarman because the Protective Order is ambiguous as to whether Mr.
              16 Sugarman—as the sole individual party, as opposed to entity, in this case—is
              17 allowed to view such documents. Mr. Sugarman requested that the parties agree to
              18 resolve this ambiguity and allow Mr. Sugarman to view AEO documents, but Banc
              19 refused. Not allowing Mr. Sugarman to review AEO material prevents him from
              20 seeing the evidence in this matter, which among other things complicates
              21 settlement negotiations.
              22                Banc’s overreach is perhaps best exemplified by four productions of emails
              23 it made in late February and early March—after the close of fact discovery—which
              24 Banc designated as AEO in their entirety. These emails involve three-year-old
              25 historical facts about who prepared the October 18, 2016 press release, the subject
              26 of substantial litigation in this case. They include
              27
              28

                       US-DOCS\110403291.4                                       CASE NO. SACV 17-00118 AG (DFMx)
ATTORNEYS AT LAW
 ORANGE COUNTY                                                     2            DEFENDANT SUGARMAN’S MOT. TO
                                                                                                   DE-DESIGNATE
    Case 8:17-cv-00118-AG-DFM Document 560 Filed 09/03/19 Page 7 of 15 Page ID #:23533


                   1            Banc permitted the law firm hired by a special committee of Banc’s board of
                   2 directors to produce drafts of the Press Release that came from Mr. Sugarman’s
                   3 computer without the AEO designation. There is no legitimate reason why a 2:58
                   4 p.m. draft of the press release sent from Mr. Sugarman’s computer is not
                   5 designated AEO, while
                   6                                          is designated AEO. AEO designations should
                   7 involve “extremely sensitive” information such as business strategy or potential
                   8 acquisitions, not three-year-old emails about historical events that are already the
                   9 subject of extensive public disclosure and litigation. Banc’s effort to deny Mr.
              10 Sugarman the ability to review evidence critical to his defense makes it impossible
              11 for him to defend himself effectively in this case.
              12                Banc, as the designating party, bears the burden of establishing that its
              13 designations of documents as Confidential and AEO are proper and it has not.
              14 Banc did not even respond to Mr. Sugarman’s two letters requesting a meet and
              15 confer on the issue. Many of the documents Banc has designated in this case
              16 clearly do not qualify for the protections asserted, and Banc’s blanket over-
              17 designations are prejudicing Mr. Sugarman’s defense and burdening this Court.
              18                Given the sheer scope of the mass over-designation, and Banc’s complete
              19 refusal to meet and confer regarding this issue, the Court should rule that all of
              20 Banc’s designations are removed and that if Banc wishes to reinstate any
              21 designation, it must present to the Court a specific request with evidence
              22 supporting their designation. In the alternative, Mr. Sugarman requests that the
              23 documents attached in Exhibit P1 be immediately de-designated.
              24 II.            BACKGROUND
              25                On November 13, 2017, the Court entered the Protective Order, which sets
              26 forth the proper bounds of confidentiality in this case. (Dkt. 83.) It explicitly
              27
                        1
              28         Exhibits referenced herein are exhibits to the declaration of Joseph De Leon, filed
                        concurrently herewith.
                       US-DOCS\110403291.4                                         CASE NO. SACV 17-00118 AG (DFMx)
ATTORNEYS AT LAW
 ORANGE COUNTY                                                       3            DEFENDANT SUGARMAN’S MOT. TO
                                                                                                     DE-DESIGNATE
    Case 8:17-cv-00118-AG-DFM Document 560 Filed 09/03/19 Page 8 of 15 Page ID #:23534


                   1 “does not confer blanket protections on all disclosures or responses to discovery,
                   2 and the protection it gives from public disclosure and use extends only to the
                   3 specific material entitled to confidential treatment under the applicable legal
                   4 principles.” (Id. at 1.) The Order provides for two categories of non-public
                   5 designations, Confidential and AEO, which it defines as follows:
                   6            • “Confidential Information. A party or non-party may designate as
                   7                 ‘CONFIDENTIAL’ any confidential, proprietary, personal and/or trade-
                   8                 secret technical, scientific, business, or financial information that is not
                   9                 generally known and that the producing party would normally maintain
              10                     in confidence and not reveal to a third party or would cause third parties
              11                     to maintain in confidence.” (Id.) Documents designated as Confidential
              12                     may only be disclosed to parties and certain others in the context of this
              13                     litigation. (Id. at 4-5.)
              14                • “Highly Confidential - Attorneys’ Eyes Only Information. A party or
              15                     non-party may designate as ‘HIGHLY CONFIDENTIAL -
              16                     ATTORNEYS’ EYES ONLY’ extremely sensitive ‘CONFIDENTIAL’
              17                     information disclosure of which to another party or non-party would
              18                     create a substantial risk of serious harm that could not be avoided by less
              19                     restrictive means.” (Id. at 2.) Documents designated as AEO may only
              20                     be disclosed to outside counsel and certain others in the context of this
              21                     litigation, but may not be disclosed to the parties themselves. (Id. at 5-6.)
              22 The Protective Order further states: “Designation under this Order is allowed only
              23 if the designation is necessary to protect material that, if disclosed to persons not
              24 authorized to view it, would cause competitive or other recognized harm. Material
              25 may not be designated if it has been made public, or if designation is otherwise
              26 unnecessary to protect a secrecy interest.” (Id. at 2.)
              27                Additionally, the Protective Order explicitly prohibits over-designation. It
              28 states that a party using the Confidential or AEO designations “must only

                       US-DOCS\110403291.4                                            CASE NO. SACV 17-00118 AG (DFMx)
ATTORNEYS AT LAW
 ORANGE COUNTY                                                         4             DEFENDANT SUGARMAN’S MOT. TO
                                                                                                        DE-DESIGNATE
    Case 8:17-cv-00118-AG-DFM Document 560 Filed 09/03/19 Page 9 of 15 Page ID #:23535


                   1 designate specific material that qualifies under the appropriate standards” and
                   2 “only those parts of documents, items, or oral or written communications that
                   3 require protection shall be designated.” (Id. at 2.) Designating full productions
                   4 that do not qualify under the Protective Order standards is explicitly identified as
                   5 sanctionable: “Mass, indiscriminate, or routinized designations are prohibited.
                   6 Unjustified designations may expose the designator to sanctions.” (Id. at 2.) And
                   7 parties are required to promptly address issues identified with their productions:
                   8 “If a designator learns that information or items that it designated for protection do
                   9 not qualify for protection at all, or do not qualify for the level of protection initially
              10 asserted, that designator must promptly notify all parties that it is withdrawing the
              11 mistaken designation.” (Id. at 2.)
              12              From October 2017 to January 2019, Banc produced 464,010 pages of
              13 documents in this case. Banc did not include with those productions any metadata
              14 indicating the confidentiality designations of individual documents, making it
              15 extremely difficult to identify the exact number of documents designated as either
              16 Confidential or AEO. But it appears that all, or substantially all, documents in
              17 those productions were stamped either Confidential or AEO. Examples of
              18 documents Banc designated as Confidential or AEO demonstrate that the
              19 productions clearly do not meet the standards required for such designations. The
              20 improperly designated documents include the following:
              21              • Documents designated as Confidential:
              22                       o
              23                                (BOC_000006302, Ex. A.)
              24                       o                                        (BOC_000034046,
              25                           BOC_000002045, Exs. B, C.)
              26                       o                                      (BOC_000028350,
              27                           BOC_000003885, BOC_000012848, Ex. D-F.)
              28

                     US-DOCS\110403291.4                                         CASE NO. SACV 17-00118 AG (DFMx)
ATTORNEYS AT LAW
 ORANGE COUNTY                                                     5            DEFENDANT SUGARMAN’S MOT. TO
                                                                                                   DE-DESIGNATE
           Case 8:17-cv-00118-AG-DFM Document 560 Filed 09/03/19 Page 10 of 15 Page ID
                                           #:23536

                   1            • Documents designated as AEO:
                   2                     o October 18, 2016 emails from John Grosvenor, General Counsel of
                   3                         Banc, to Matthew Guest of Wachtell, Lipton, Rosen & Katz,
                   4                         copying Steven Sugarman,
                   5                                                                     (BOC_000463907,
                   6                         BOC_000463909, Exs. G, H.)
                   7                     o An October 18, 2016 email from Hugh Boyle to John Grosvenor,
                   8                         stating,                            (BOC_000463922, Ex. I.)
                   9                     o An October 18, 2016 email
              10                                                        . (BOC_000464014, Ex. J.)
              11                         o A May 9, 2016 email from Steven Sugarman to Halle Benett
              12                             stating, in full,
              13                                           (BOC_000463983, Ex. K.)
              14                As the Court can see from this very briefing, Mr. Sugarman is required to
              15 follow the cumbersome sealing procedures to protect from disclosure information
              16 that is either public or clearly not confidential.
              17                In February and March 2019—after the close of fact discovery—Banc
              18 produced four additional volumes of documents, totaling 92 documents, that it
              19 designated AEO in their entirety.2 Included in these productions were highly
              20 important documents that contradict Banc’s claims against Mr. Sugarman. For
              21 example, in public statements, the Seabold Amended Answer, and discovery
              22 responses in this case that Banc did not designate as Confidential or AEO, Banc
              23 has alleged that Mr. Sugarman was solely responsible for drafting the October 18
              24 press release, and that he did so while knowing it to be incorrect. But documents
              25 in these productions demonstrate that Banc’s public accusations against Mr.
              26        2
                   As a result of this late production, which includes key documents impacting the
              27 parties positions, Mr. Sugarman will soon be filing a separate motion seeking to
                 reopen discovery regarding the late-produced documents, including the re-opening
              28 of Mr. Grosvenor’s deposition to address these documents and a deposition of Mr.
                 Sedabres, the Banc employee whose role was implicated by the late production.
                       US-DOCS\110403291.4                                         CASE NO. SACV 17-00118 AG (DFMx)
ATTORNEYS AT LAW
 ORANGE COUNTY                                                        6           DEFENDANT SUGARMAN’S MOT. TO
                                                                                                     DE-DESIGNATE
           Case 8:17-cv-00118-AG-DFM Document 560 Filed 09/03/19 Page 11 of 15 Page ID
                                           #:23537

                   1 Sugarman were false. (Ex. L.)
                   2
                   3                                                            . The documents also show
                   4
                   5                  These documents establish
                   6
                   7
                   8
                   9 Furthermore, a redline of
              10                                                                     shows obvious and
              11 material differences. (Ex. M.) There simply is no justification for designating the
              12 post-discovery cut off documents as AEO, and it appears that Banc did so purely to
              13 keep Mr. Sugarman from seeing facts that support his claims.
              14                In fact, any and all emails about the October 18th Press Release are not
              15 “confidential, proprietary, personal and/or trade-secret technical, scientific,
              16 business, or financial information that is not generally known” and thus should not
              17 be designated at all. The 2016 Press Release is described in detail in Plaintiff’s
              18 Complaint (now over two and a half years old), Banc’s securities disclosures, and
              19 court filings in this case. These emails are certainly not “extremely sensitive
              20 ‘CONFIDENTIAL’ information disclosure of which to another party or non-party
              21 would create a substantial risk of serious harm that could not be avoided by less
              22 restrictive means” as required for an AEO designation. Further, it is manifestly
              23 unfair to Mr. Sugarman to allow a situation where Plaintiff and Banc’s allegations
              24 about Mr. Sugarman’s involvement in the October 18th Press Release are made
              25 public, while literally every single document produced by Banc on that same topic
              26 is designated as Confidential or Attorney’s Eyes Only and must be filed under seal.
              27
              28

                       US-DOCS\110403291.4                                       CASE NO. SACV 17-00118 AG (DFMx)
ATTORNEYS AT LAW
 ORANGE COUNTY                                                      7           DEFENDANT SUGARMAN’S MOT. TO
                                                                                                   DE-DESIGNATE
           Case 8:17-cv-00118-AG-DFM Document 560 Filed 09/03/19 Page 12 of 15 Page ID
                                           #:23538

                   1 III.       BANC REFUSED TO MEET AND CONFER
                   2            Because the Protective Order provides that “[a]ll challenges to
                   3 confidentiality designations shall proceed under L.R. 37-1 through L.R. 37-4”
                   4 (Dkt. 83 at 4), on July 8, 2019, Mr. Sugarman sent Banc a letter challenging
                   5 Banc’s indiscriminate over-designation of documents as Confidential and AEO,
                   6 and included a list of documents that Mr. Sugarman contends do not qualify for the
                   7 protection asserted. (Ex. N.) Banc never responded to that letter. On August 19,
                   8 2019, Mr. Sugarman again wrote to Banc, noting that Banc had not responded to
                   9 the July 8 letter, Mr. Sugarman remained willing to meet and confer on these
              10 issues, but that he intended to seek relief from the Court if Banc did not correct its
              11 myriad over-designations. (Ex. O.) Banc similarly never responded to that letter.
              12 In short, Banc violated this Court’s order by mass designating every document, and
              13 when asked to meet and confer on the issue, simply ignored the request (twice).
              14 Because Banc has refused to meet and confer on these issues, pursuant to L.R. 37-
              15 2.4 Mr. Sugarman has filed the present motion as a noticed motion instead of as a
              16 joint stipulation.
              17 IV.            ARGUMENT
              18                A.       Banc Cannot Satisfy Its Burden to Establish that the Designated
              19                         Documents Are Entitled to Protection, and therefore the
                                         Documents Should Be Ordered De-Designated
              20
              21                Banc bears the burden of establishing that its confidentiality designations are
              22 appropriate, which, given its pervasive over-designations, is a burden it cannot
              23 meet here. “[W]hen a confidentiality designation is challenged, the burden of
              24 persuasion rests upon the designating party,” Louisiana Pac. Corp. v. Money Mkt.
              25 1 Institutional Inv. Dealer, 285 F.R.D. 481, 490 (N.D. Cal. 2012), and that party
              26 “must establish good cause for each particular document for which protection is
              27 sought by demonstrating that harm or prejudice would result from removing the
              28 designation,” Echostar Satellite LLC v. Freetech, Inc., No. C 07-6127 JW RS,

                       US-DOCS\110403291.4                                        CASE NO. SACV 17-00118 AG (DFMx)
ATTORNEYS AT LAW
 ORANGE COUNTY                                                      8            DEFENDANT SUGARMAN’S MOT. TO
                                                                                                    DE-DESIGNATE
           Case 8:17-cv-00118-AG-DFM Document 560 Filed 09/03/19 Page 13 of 15 Page ID
                                           #:23539

                   1 2009 WL 8398697, at *1 (N.D. Cal. Aug. 5, 2009); see also Karoun Dairies, Inc.
                   2 v. Karoun Dairies, Inc., No. 08-CV_1521-AJB WVG, 2014 WL 5170800, at *6
                   3 (S.D. Cal. Oct. 14, 2014) (“The burden of proof to maintain the confidentiality of
                   4 any document is on the party seeking to maintain the confidentiality.”) (citing In re
                   5 Roman Catholic Archbishop of Portland in Oregon, 661 F.3d 417, 424 (9th Cir.
                   6 2011) (“When the protective order ‘was a stipulated order and no party ha[s] made
                   7 a ‘good cause’ showing, then ‘the burden of proof ... remain[s] with the party
                   8 seeking protection.’”)).
                   9            Under the Protective Order, a party may designate as Confidential only those
              10 materials that are “confidential, proprietary, personal and/or trade-secret technical,
              11 scientific, business, or financial information that is not generally known and that
              12 the producing party would normally maintain in confidence and not reveal to a
              13 third party or would cause third parties to maintain in confidence.” (Dkt. 82 at 1.)
              14 Similarly, a party may designate as AEO only “information disclosure of which to
              15 another party or non-party would create a substantial risk of serious harm that
              16 could not be avoided by less restrictive means.” (Id. at 2.) The Protective Order
              17 explicitly prohibits “[m]ass, indiscriminate, or routinized designations,” and
              18 provides that over-designation may subject a party to sanctions. Id.
              19                Banc designated all, or substantially all, of the documents it produced as
              20 Confidential or AEO, directly contravening the Protective Order’s prohibition
              21 against mass and indiscriminate designations. Furthermore, many, if not the
              22 majority, of documents Banc designated are not entitled to any protection at all
              23 under the terms of the Protective Order and governing law, or are entitled to a
              24 lesser degree of protection than Banc has asserted. Attached as Exhibit P is a list
              25 of specific documents that Mr. Sugarman contends are over-designated, and Mr.
              26 Sugarman seeks an order compelling Banc to de-designate these documents.
              27                In many cases, Banc’s apparent purpose in seeking to keep documents
              28 confidential is to protect Banc’s own public image, which is not a proper basis for

                       US-DOCS\110403291.4                                        CASE NO. SACV 17-00118 AG (DFMx)
ATTORNEYS AT LAW
 ORANGE COUNTY                                                      9            DEFENDANT SUGARMAN’S MOT. TO
                                                                                                    DE-DESIGNATE
           Case 8:17-cv-00118-AG-DFM Document 560 Filed 09/03/19 Page 14 of 15 Page ID
                                           #:23540

                   1 confidentiality, especially considering the many public statements Banc has made
                   2 that are harmful to Mr. Sugarman. See Minter v. Wells Fargo Bank, N.A., Nos. 07-
                   3 3442, 08-1642, 2010 WL 5418910, at *7 (“the Court recognizes that there is both
                   4 strategic and financial incentive to over-designate. … [D]esignation shields from
                   5 public view a company’s documents.”). Throughout this case, Banc has sought to
                   6 publicly portray Mr. Sugarman in a negative light, while attempting to keep
                   7 information exonerating Mr. Sugarman, or reflecting negatively on Banc,
                   8 confidential. Banc made public allegations about the drafting of the October 18th
                   9 Press Release in securities disclosures dated January 23, 2017 and February 9,
              10 2017. Banc also made public disparaging, allegations against Mr. Sugarman in an
              11 Amended Answer filed in the Seabold v. Banc of California litigation, which Banc
              12 leaked to the Los Angeles Times before filing. The Amended Answer describes in
              13 public and in detail Banc’s version of events regarding the drafting of the October
              14 18, 2016 press release. If that subject matter was confidential or extremely
              15 sensitive, Banc would have never described these facts in a public document not
              16 filed under seal. Banc has also adopted these disparaging statements in discovery
              17 responses in this litigation that it did not mark as Confidential or AEO. It is
              18 inequitable to allow Banc to disparage Mr. Sugarman publicly and in discovery
              19 responses, but then seek to keep documents that exonerate Mr. Sugarman
              20 confidential or AEO.
              21              Furthermore, it appears that in many cases Banc strategically designated
              22 documents as AEO in order to prevent Mr. Sugarman from seeing documents
              23 undermining Banc’s allegations against him. As noted above, documents in
              24 Banc’s February and March 2019 productions, which were designated as AEO in
              25 their entirety, demonstrate that Banc’s public statements concerning Mr.
              26 Sugarman’s involvement in the October 18 press release are false. There is no
              27 legitimate reason for Banc to have designated these documents as AEO. Banc
              28 permitted hundreds of documents regarding the October 18 press release to be

                     US-DOCS\110403291.4                                       CASE NO. SACV 17-00118 AG (DFMx)
ATTORNEYS AT LAW
 ORANGE COUNTY                                                   10           DEFENDANT SUGARMAN’S MOT. TO
                                                                                                 DE-DESIGNATE
           Case 8:17-cv-00118-AG-DFM Document 560 Filed 09/03/19 Page 15 of 15 Page ID
                                           #:23541

                   1 produced without such a designation, including a draft sent at 2:58 p.m. from Mr.
                   2 Sugarman’s computer that is
                   3                                                                                   (Ex. Q.)
                   4 There is no legitimate reason why a 2:58 p.m. draft of the release sent from Mr.
                   5 Sugarman’s computer is not designated AEO, while a
                   6                         is designated AEO. The only explanation for such inconsistent
                   7 designations is that Banc does not want Mr. Sugarman to see evidence
                   8 undermining Banc’s claims that he drafted the press release by himself.
                   9            As the designating party, it is Banc’s burden to establish good cause for each
              10 particular document it seeks to protect. Despite Mr. Sugarman’s invitations for
              11 Banc to justify its confidentiality designations, it has refused to do so. Given the
              12 undue burden that Banc has placed on the parties and this Court by presumptively
              13 designating seemingly all of its documents as Confidential, the Court should
              14 remove all of Banc’s designations and require Banc to present to the Court a
              15 specific request with evidence supporting their designation if it wishes to reinstate
              16 any designations. See Del Campo v. Am. Corrective Counseling Servs., Inc., No.
              17 C-01-21151JWPVT, 2007 WL 3306496, at *1-4 (N.D. Cal. Nov. 6, 2007)
              18 (ordering the entirety of defendants production de-designated due to over-
              19 designation and the failure to justify designations). Alternatively, all of the
              20 documents in Exhibit P should be de-designated immediately (although Mr.
              21 Sugarman notes that this may not be an exhaustive list).
              22 V.             CONCLUSION
              23                For the reasons noted above, Mr. Sugarman respectfully requests that the
              24 Court grant the relief requested herein.
              25 Dated: September 3, 2019                              LATHAM & WATKINS LLP
              26
                                                                             By: /s/ Manuel A. Abascal
              27                                                             Manuel A. Abascal
                                                                             Attorneys for Defendant Steven A.
              28                                                            Sugarman

                       US-DOCS\110403291.4                                           CASE NO. SACV 17-00118 AG (DFMx)
ATTORNEYS AT LAW
 ORANGE COUNTY                                                         11           DEFENDANT SUGARMAN’S MOT. TO
                                                                                                       DE-DESIGNATE
